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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 TQ DELTA, LLC,                         )
                                        )
                       Plaintiff,       )    C.A. No. 13-cv-1835-RGA
                                        )
        v.                              )
                                        )     PUBLIC VERSION
 2WIRE, INC.,                           )     FILED FEBRUARY 21, 2020
                                        )
                       Defendant.       )
                                        )

             DEFENDANT 2WIRE, INC.’S OPENING BRIEF IN SUPPORT OF
                 ITS MOTION FOR JUDGMENT AS A MATTER OF LAW
             OR, IN THE ALTERNATIVE, FOR A NEW TRIAL FOR FAMILY 2


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 I.      INTRODUCTION

         The Court should grant judgment as a matter of law (“JMOL”) that (1) 2Wire does not

 infringe asserted claims 17 and 18 of U.S. Patent No. 7,453,881 (the “’881 patent,” JTX-0001)

 and (2) the asserted claims are invalid as anticipated by the prior art. TQ Delta failed to provide

 substantial evidence to support the jury’s verdict on these issues and, thus, JMOL is appropriate.

 In the alternative, 2Wire requests a new trial on the issues of infringement and validity because

 critical flaws in the jury instructions and certain evidentiary rulings prejudiced 2Wire, and

 because the jury’s verdict is against the clear weight of the evidence.

         First, 2Wire is entitled to JMOL of non-infringement on claims 17 and 18 because TQ

 Delta failed to adduce substantial evidence at trial that the accused 2Wire products “utiliz[e] at

 least one transmission parameter value to reduce a difference in latency between the bonded

 transceivers.” In putting on its case, TQ Delta contended that, by

                   on two or more bonded lines, a difference in configuration latency is reduced

 compared to what it “could have been.” But this theory was pure speculation because TQ Delta

 offered no evidence to prove either (1) what the configuration latency “could have been” without

 setting any constraints, or (2) that                                            would result in any

 reduction in configuration latency. TQ Delta’s reliance on speculation and made-up

 hypotheticals from its experts cannot support a jury verdict of infringement.

         Second, 2Wire is entitled to JMOL of invalidity because it presented clear and convincing

 evidence that each limitation of claims 17 and 18 was disclosed by U.S. Patent No. 6,222,858 to

 Counterman (“Counterman,” JTX-0045). In response, TQ Delta took issue with only a single

 limitation and relied on arguments from its expert, Dr. Todor Cooklev, that ignored the key

 portions of Counterman. On anticipation, 2Wire carried its burden, and TQ Delta failed to

 produce evidence in response, so 2Wire’s motion for JMOL should be granted.


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        Third, 2Wire is entitled to a new trial because the Court’s infringement instruction to the

 jury was erroneous. By instructing the jury that it “must find that 2Wire’s accused products

 infringe claim 17 and/or 18 regardless of how the accused products are actually used by 2Wire or

 its customers,” the Court ignored the claim language requiring that the accused products actually

 reduce a configuration latency difference “utilizing” transmission parameters and improperly

 told the jury to ignore 2Wire’s evidence that, when the accused products are configured and used

 by customers like AT&T, there is no difference in configuration latency to be reduced. This

 instruction was prejudicial error and warrants a new trial.

        Fourth, 2Wire was prejudiced at trial by a couple of the Court’s rulings relating to the

 Patent Office’s consideration of Counterman during prosecution of the ’881 patent. The Court

 first sustained TQ Delta’s objections and prohibited 2Wire’s expert, Dr. Krista Jacobsen, from

 testifying about the file history, which would have proven that the examiner never considered

 Counterman in the context of asserted claims 17 and 18. As Dr. Jacobsen was prepared to

 testify, the applicant disclosed Counterman to the examiner on April 4, 2003, before claims 17

 and 18 existed anywhere in the application. Issued claims 17 and 18 were not added by the

 applicant until almost five years later, after the examiner’s January 8, 2008 office action rejecting

 all claims. The Court’s evidentiary ruling left the door open for TQ Delta’s counsel to argue—

 falsely—during closing arguments that Counterman “absolutely was considered” with respect to

 the asserted claims. And without the benefit of Dr. Jacobsen’s testimony, 2Wire was deprived of

 the opportunity to rebut that key argument to the jury. 2Wire objected and requested a curative

 instruction; the Court declined to give any curative instruction. The Court’s failure to issue a

 curative instruction prejudiced 2Wire and warrants granting a new trial.

        Fifth, 2Wire also moves for a new trial on non-infringement of claim 17 and 18, and on

 anticipation based on Counterman of claims 17 and 18. If the Court should find that 2Wire is not

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 entitled to JMOL on these grounds, 2Wire has shown that the verdict is against the clear weight

 of evidence.

 II.    LEGAL STANDARD

        JMOL is required if “the court finds that a reasonable jury would not have a legally

 sufficient evidentiary basis to find for [a] party.” Fed. R. Civ. P. 50(a)(1). “To prevail on a

 renewed motion for JMOL following a jury trial, a party ‘must show that the jury’s findings,

 presumed or express, are not supported by substantial evidence or, if they were, that the legal

 conclusion(s) implied [by] the jury’s verdict cannot in law be supported by those findings.’”

 Pannu v. Iolab Corp., 155 F.3d 1344, 1348 (Fed. Cir. 1998).

        Under Rule 59(a), “[t]he court may, on motion, grant a new trial on all or some of the

 issues—and to any party— . . . after a jury trial, for any reason for which a new trial has

 heretofore been granted in an action at law in federal court . . . .” Fed. R. Civ. P. 59(a)(1)(A).

 Among the most common grounds for granting a new trial is when “the jury’s verdict is against

 the clear weight of the evidence, and a new trial must be granted to prevent a miscarriage of

 justice . . . .” AVM Techs., LLC v. Intel Corp., 334 F. Supp. 3d 623, 626 (D. Del. 2018). “The

 decision to grant or deny a new trial is within the sound discretion of the trial court and, unlike

 the standard for determining judgment as a matter of law, the court need not view the evidence in

 the light most favorable to the verdict winner.” Carrier Corp. v. Goodman Glob., Inc., 162 F.

 Supp. 3d 345, 351 (D. Del. 2016) (citations omitted).

        Additionally, “[w]here a motion for a new trial is based on an alleged legal error in

 the jury instructions, the court must determine [(1)] ‘whether an error was in fact committed, and

 (2) whether that error was so prejudicial that [the] denial of a new trial would be inconsistent

 with substantial justice.’” Dow Chem. Co. v. Nova Chemicals Corp. (Canada), No. CIV.A. 05-

 737-JJF, 2010 WL 3056617, at *2 (D. Del. July 30, 2010) (citation omitted).


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 III.   NATURE AND STAGE OF THE PROCEEDING

        TQ Delta filed this patent infringement lawsuit against 2Wire on November 4, 2013,

 asserting infringement of twenty-four patents. See D.I. 1. The Court split the case into separate

 trials based on different families of patents. See. D.I. 280 (Third Amended Scheduling Order).

 The parties proceeded to trial on Family 2, at issue here, on two claims from a single patent,

 claims 17 and 18 of the ’881 patent, reproduced below:

        17. A plurality of bonded transceivers,

                each bonded transceiver utilizing at least one transmission parameter value
                   to reduce a difference in latency between the bonded transceivers,

                wherein a data rate for a first of the bonded transceivers is different than a
                   data rate for a second of the bonded transceivers.

        18. The transceivers of claim 17, wherein the at least one transmission parameter
              value is a Reed Solomon Coding parameter value, an interleaving
              parameter value, a coding parameter value, a codeword size value or a
              framing parameter value.

        By the beginning of trial on January 13, 2020, the remaining accused products were

 2Wire’s 5168N, 5168NV, and 5268AC products. All of these accused products use the same

 DSL chip from Broadcom, the BCM 63x68. The jury returned a verdict on January 16, 2020,

 finding that claims 17 and 18 were infringed by each of the accused 2Wire products and that

 claims 17 and 18 were not anticipated by Counterman under 35 U.S.C. §102.

 IV.    ARGUMENT

        A.      The Court Should Enter JMOL That 2Wire Does Not Infringe the Asserted
                Claims.

        The Court should enter JMOL of non-infringement in 2Wire’s favor because, on the

 evidence presented at trial, no reasonable jury could find that the accused products satisfy the

 limitation of “utilizing at least one transmission parameter value to reduce a difference in latency

 between the bonded transceivers,” as required for claims 17 and 18 of the ’881 patent. “In order


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 to prove direct infringement, a patentee must either point to specific instances of direct

 infringement or show that the accused device necessarily infringes the patent in suit.” ACCO

 Brands, Inc. v. ABA Locks Mfrs. Co., 501 F.3d 1307, 1313 (Fed. Cir. 2007). At trial, TQ Delta

 did not point to any specific instances of direct infringement, nor did it establish that the accused

 2Wire products necessarily infringe claims 17 and 18.

        TQ Delta made no attempt to present any evidence of an actual reduction in differential

 latency. Instead, TQ Delta argued that this limitation is satisfied because,

                                                on each bonded line (             and             ),

 the differential latency between two lines is necessarily constrained to something less than what

 it “could have been” if                                    . See, e.g., Trial Tr., at p. 319:5–8 (Dr.

 Cooklev: “The difference in latency is actually reduced so we have an actual reduction compared

 to what the difference in latency could have been if there wasn’t a latency constraint on each

 line.”). This argument fails, however, because TQ Delta failed to produce any evidence at all as

 to what latencies the accused 2Wire products could possibly initialize to if

                                       and, thus, no evidence of what the differential latency

 “could have been.” TQ Delta thus failed to present evidence on this limitation to support the

 jury’s verdict of infringement.1

        Dr. Cooklev’s testimony does not support the jury’s verdict. Through Dr. Cooklev, the

 only “evidence” that TQ Delta presented of any purported reduction in differential latency

 between bonded transceivers had nothing to do with the accused products, or with the

 1
   It was undisputed at trial that DSL transceivers always have been bounded by a maximum
 latency constraint. See, e.g., Trial Tr., at pp. 174:13–178:10 (Mr. Tzannes admitting that
 maximum delay constraints existed prior to his invention); DTX0564_0035 (G.997.1 standard,
 from June 1999, specifying maximum line delay at sections 7.3.8 and 7.3.9); DTX0565_0026
 (G.994.1 standard, from June 1999, specifying maximum latency upstream and downstream in
 Tables 9-c.1 and 9-d.1). And TQ Delta presented no evidence that the minDelay constraint is
 anything other than zero.

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 transmission parameters or latency values for them at initialization. Instead, Dr. Cooklev

 discussed a hypothetical comparison between an Example A (which used parameters from the

 ’881 patent, and not any of the accused products) and an Example B (which, according to Dr.

 Cooklev, “illustrates what the difference in latency could have been if there wasn’t a constraint”

 on each line). Trial Tr., at p. 319:14–15. Dr. Cooklev’s examples are below:




 PTX-0901, at p. 20.

        But Dr. Cooklev’s Example B cannot be evidence of infringement by the accused 2Wire

 products because, as Dr. Cooklev himself admitted, this “hypothetical example” does not exist

 and would never exist anywhere in the real world—and certainly not in 2Wire’s accused

 products:

        Q. So when does this constraint happen? In other words, when is the constraint
           applied?

        A. This constraint is applied at the first instance. The constraint is applied when
           each line calculates the transmission parameters, the transmission parameter
           values.

        Q. So does that mean that the higher difference in latency in your Example B
           will never exist?


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         A. Well, that’s -- that is correct. That is correct. Example B shows what it
            could have been if the invention is not practiced. So it is a hypothetical
            example. It doesn’t exist in practice.

  Trial Tr., at p. 320:7–17 (emphasis added). Instead, the numbers that Dr. Cooklev used were

  completely made up, and he could have used any combination of unrealistic numbers to solve for

  his predetermined conclusion:

         Q. I just want to make sure I understand. The numbers in Example B, those came
            from your head; correct?

         A. That’s correct.

         Q. And you could have selected from your head different numbers; correct?

         A. I could have selected different numbers. Yes.

         Q. And if you had selected different numbers, you might have gotten different
            results; correct?

         A. That’s correct.

         Q. So you selected numbers to illustrate a point that you were trying to make;
            correct?

         A. That’s correct.

  Id., at pp. 382:25–383:11.

         In other words, TQ Delta could not possibly establish that the accused products “utiliz[e]

  at least one transmission parameter value to reduce a difference in latency between the bonded

  transceivers” because TQ Delta failed to present any evidence of what the differential latency

  “could have been” in the accused products absent

             . Without evidence of what the differential latency “could have been,” TQ Delta

  could not—and did not—prove that a difference in latency is ever reduced, as required by the

  claims. Certainly Dr. Cooklev’s mere hypothetical cannot carry TQ Delta’s burden of “either

  point[ing] to specific instances of direct infringement or show[ing] that the accused device

  necessarily infringes the patent in suit.” ACCO Brands, 501 F.3d at 1313.


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         TQ Delta never provided any evidence of any differential latency at all in the accused

  products. This is a critical failure of proof. To prove a reduction in a difference in latency

  between bonded transceivers, as required by the claims, TQ Delta had to prove that there was a

  difference in latency in the first place. There was no evidence at trial that the difference in

  latency “could have been” anything other than zero, because that is what Dr. Jacobsen’s tests

  showed and TQ Delta presented no contrary evidence.

         The Ubermatrix does not support the jury’s verdict. TQ Delta and Dr. Cooklev also

  relied on the Ubermatrix—a requirements document between 2Wire and AT&T—to argue that

  the accused products utilize at least one transmission parameter value to reduce a difference in

  latency between the bonded transceivers. Specifically, TQ Delta relied upon row 451 of the

  Ubermatrix, which states: “

       .” JTX-0029.0039, at row 451; see also Trial Tr., at pp. 343:11–344:16. This document is

  not sufficient evidence to support the verdict. Even assuming “interleaving delay” is the same as

  “configuration delay” as required for the asserted claims (which 2Wire disputes, see Trial Tr., at

  pp. 626:12–627:2), this row in the Ubermatrix at most simply demonstrates the same, undisputed

  point discussed above—in the accused products, the differential latency between two lines is

  zero. Therefore, this snippet from the Ubermatrix is not sufficient evidence to support the jury’s

  infringement verdict.

                                            *       *       *

         In sum, TQ Delta’s infringement theory fails as a matter of law. Proving a reduction in a

  range of potential latency across two or more bonded lines—even assuming, solely for purposes

  of argument, that TQ Delta actually proved that much—is not the same thing, without more, as

  proving an actual reduction in a difference in latency utilizing transmission parameters.

  Accordingly, no reasonable jury could conclude that the accused products satisfy the limitation

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  of “utilizing at least one transmission parameter value to reduce a difference in latency between

  the bonded transceivers,” and, therefore, 2Wire is entitled to judgment of non-infringement as a

  matter of law.

          B.       The Court Should Enter JMOL That The Asserted Claims Are Invalid As
                   Anticipated By Counterman.

          The Court should enter JMOL that the asserted claims are invalid as anticipated by

  Counterman under 35 U.S.C. § 102. A claim is invalid for anticipation “if a single prior art

  reference discloses each and every limitation of the claimed invention.” Schering Corp. v.

  Geneva Pharms., 339 F.3d 1373, 1377 (Fed. Cir. 2003). Anticipation must be shown by clear

  and convincing evidence. See Orion IP, LLC v. Hyundai Motor Amer., 605 F.3d 967, 975 (Fed.

  Cir. 2010) (overturning denial of JMOL and granting JMOL of invalidity). TQ Delta does not

  dispute that the first and third limitations of claim 17 are met by Counterman, or that

  Counterman discloses using the transmission parameters recited in claim 18. With respect to the

  second limitation—“each bonded transceiver utilizing at least one transmission parameter value

  to reduce a difference in latency between the bonded transceivers”—2Wire presented clear and

  convincing evidence that this limitation was met, while TQ Delta presented no evidence at all.

  JMOL of anticipation in view of Counterman should be entered. See, e.g., Orion IP, 605 F.3d at

  975–76; DDR Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245, 1252–55 (Fed. Cir. 2014)

  (reversing district court and granting JMOL where jury’s conclusion of no anticipation was not

  supported by substantial evidence); cf. Dystar Textilfarben GmbH & Co. Deutschland KG v. CH

  Patrick & Co., 464 F.3d 1356, 1361–62 (Fed. Cir. 2006) (overturning district court’s denial of

  JMOL on obviousness where the jury had credited evidence of the wrong level of ordinary skill

  in the art).




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         First, there is no dispute that the first element of claim 17—a plurality of bonded

  transceivers—is disclosed by Counterman. Dr. Jacobsen testified that Counterman discloses

  transceivers that use inverse multiplexing to combine transceivers into inverse multiplexing

  groups. Trial Tr., at pp. 636:4–637:18. TQ Delta’s expert, Dr. Cooklev, presented no evidence

  to the contrary, and admitted that Counterman discloses this limitation. Id., at p. 701:17–20 (“Q.

  So can we agree that Counterman discloses a plurality of bonded transceivers? A. Counterman

  talks about service flows, but we can agree that that relates to bonded transceiver.”).

         As to the second element of claim 17—“each bonded transceiver utilizing at least one

  transmission parameter value to reduce a difference in latency between the bonded

  transceivers”—2Wire presented clear and convincing evidence that this limitation is disclosed by

  Counterman. As Dr. Jacobsen explained, Counterman discloses controlling the difference in

  delay between grouped communication links (i.e., bonded lines, see Trial Tr., at p. 633:7–23) by

  selecting certain FEC parameters to meet a quality of service objective:

         And the key part here is that Counterman says that the delay that’s experienced by
         a cell is the result of selecting certain forward error correction or FEC parameters
         in order to meet the common desired quality of service objective. So what this is
         saying is you control the delay by selecting certain FEC parameters to meet
         whatever your quality of service requirement is, which is includes whatever delay
         you're looking to meet.

  Trial Tr., at pp. 640:5–12 (discussing Counterman, at col. 6:8–13). Dr. Jacobsen further

  explained that this element is met because Counterman “select[s] those [transmission

  parameters] to set a delay and then you’re able to bond together these connections or these links

  because they have -- you’ve reduced the difference in latency between them, so you’re able to

  bond them.” Trial Tr., pp. 640:13–641:1 (discussing Counterman, at col. 7:6–13).

         TQ Delta failed to present any evidence in response to 2Wire’s showing that this claim

  limitation was met. Dr. Cooklev testified that Counterman does not meet this limitation because



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  it merely groups connections with similar delays. See id., at pp. 694:24–695:23. His testimony,

  however, ignores the portions of Counterman that disclose selecting parameters to meet a

  common service objective, such as reduced delay. With respect to those sections of Counterman,

  he agreed with Dr. Jacobsen’s interpretation. See id., at pp. 705:13–708:20. Dr. Cooklev

  admitted that Counterman disclosed that an FEC parameter was a transmission parameter:

         Q. In fact, in addition to disclosing the use of FEC parameters, so can we agree
            that FEC parameters are transmission parameters?

         A. FEC parameters are transmission parameters.

  Id., at p. 707:1–4. Dr. Cooklev further admitted that Counterman selected FEC parameters to meet a

  common quality of service objective:

         Q. So you appreciate Counterman discloses selecting certain FEC parameters in
            order to of meet a desired, common quality of service objective, correct?

         A. Yes.

  Id., at p. 708:15–18; see also id., at p. 706:4–6. Finally, Dr. Cooklev admitted that one of those

  objectives is “low delay”:

         Q. And that might be low delay, correct?

         A. Correct.

  Id., at p. 708:19–20; see also id., at p. 706:7–9. In this way, Dr. Cooklev admitted that

  Counterman utilizes transmission parameter values to reduce a difference in latency.

  Counterman selects transmission parameters to meet the common objective of “low delay”

  across multiple bonded lines. In that way, the difference in configuration latency is reduced.

         There also is no dispute that Counterman discloses the third limitation of claim 17—

  “wherein a data rate for a first of the bonded transceivers is different than a data rate for a second

  of the bonded transceivers.” Dr. Jacobsen explained at trial that Counterman describes grouping

  communication links that have different transmission rates, or data rates. Trial Tr., at pp. 641:8–


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  642:18 (discussing Counterman, at Abstract, col. 5:20–23, col. 5:8–13). Again, Dr. Cooklev

  presented no evidence to the contrary, and admitted that Counterman discloses this limitation.

  Id., at pp. 701:22–702:4 (“And then similarly, element B of claim 17, ‘wherein a data rate for a

  first of the bonded transceivers is different than a data rate for a second of the bonded

  transceivers,’ that’s blank in your chart; correct? A. That’s correct. Q. So I assume we can

  agree that Counterman discloses that element? A. We can agree about that.”).

         Finally, there is no dispute that Counterman discloses the additional limitation of claim

  18, that the “at least one transmission parameter value is a Reed Solomon coding parameter

  value, an interleaving parameter value, a coding parameter value, a codeword size value, or a

  framing parameter value.” Dr. Jacobsen testified that Counterman uses forward error correction

  to set a delay to meet a quality of service objective. See Trial Tr., at p. 643:10–18; Counterman,

  at col. 3:35–48, col. 6:8–12. She further testified that the type of forward error correction used in

  DSL (and in Counterman) is Reed-Solomon coding, which uses Reed-Solomon coding

  parameters, and that each limitation of claim 18 is disclosed by Counterman. See Trial Tr., at pp.

  643:18–645:15. Dr. Cooklev agreed, and admitted that Counterman disclosed forward error

  correction parameters, which included Reed-Solomon coding parameters, and that those

  parameters could be used to meet a quality of service objective such as “low delay.” Id., at pp.

  706:4–707:4. In this way, the jury’s verdict of no anticipation based on Counterman is not

  supported by substantial evidence, and 2Wire’s motion for JMOL should be granted.

         C.      In The Alternative, The Court Should Grant 2Wire A New Trial.

         Should the Court deny 2Wire’s JMOL, it should nevertheless grant 2Wire a new trial

  because the Court erred in certain of its rulings on jury instructions and evidentiary objections,

  which substantially prejudiced 2Wire’s right to a fair trial. 2Wire also requests a new trial

  because the jury’s verdict is against the clear weight of the evidence.


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                 1.      The Court’s Jury Instruction on Infringement was in Error
                         and Warrants a New Trial.

         The Court erred in giving the following jury instruction on infringement:

         Claims 17 and 18 of the ’881 patent are apparatus claims. An apparatus claim
         covers what a device is, not what a device does. If you find that TQ Delta has
         demonstrated any of 2Wire’s accused products infringe claims 17 and/or 18, then
         you must find that 2Wire’s accused products infringe claims 17 and/or 18
         regardless of how the accused products are actually used by 2Wire or its
         customers.

  Trial Tr., at p. 772:1–8.

         To determine whether a new trial is warranted based on this instruction, the Court must

  determine (1) whether an error was in fact committed and (2) whether that error was so

  prejudicial to 2Wire that the denial of a new trial would be inconsistent with substantial justice.

  Dow Chem., 2010 WL 3056617, at *2. Both prongs are satisfied here.

         As to the first prong, the infringement jury instruction is legally erroneous for two

  reasons. First, the Court’s jury instruction was erroneous because it conflicts with the plain

  language of the claims, which uses the gerund “utilizing” as to “each bonded transceiver.”

  Given this “utilizing” claim language, for TQ Delta to establish infringement, it was required to

  prove that “each bonded transceiver” actually utilizes “a transmission parameter to reduce a

  difference in latency between the bonded transceivers.” See, e.g., Typhoon Touch Tech. Inc. v.

  Dell Inc., 659 F.3d 1376, 1380–81 (Fed. Cir. 2011) (upholding district court’s claim construction

  that required a memory to actually perform a function recited using gerund “storing”). The

  Court’s jury instruction read this requirement out entirely, and, as the Court is aware, TQ Delta

  presented no actual evidence of any “bonded transceiver” in any accused 2Wire product ever

  “utilizing a transmission parameter value to reduce a difference in latency between the bonded

  transceivers.” The jury instruction thus permitted the jury to find infringement in a manner

  contradictory to the language of the asserted claims.


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         Second, the jury instruction contradicts the Court’s earlier order that permitted 2Wire “to

  argue that infringement of the claim element is not shown because there is no evidence of an

  actual reduction in the difference of configuration latency . . . .” D.I. 1105, at p. 2. 2Wire

  proved this at trial, including through the testimony of Dr. Jacobsen regarding her testing of the

  accused products, which showed no difference in latency between bonded transceivers when the

  products are configured according to real-world customer service profiles. TQ Delta presented

  no conflicting evidence on this point. But then the Court’s infringement instruction told the jury

  to disregard this evidence. The instruction told the jury to find infringement “regardless of how

  the accused products are actually used by 2Wire or its customers.” Trial Tr., at p. 772:6–8. In

  other words, under the Court’s infringement instruction, the jury was told to find infringement

  even where TQ Delta failed to prove any actual reduction in configuration latency utilizing

  transmission parameters. The infringement instruction was legally erroneous.

         As to the second prong, the erroneous jury instruction was so prejudicial to 2Wire that the

  denial of a new trial would be inconsistent with substantial justice. The infringement jury

  instruction effectively lowered TQ Delta’s burden of proof by permitting the jury to find

  infringement in a way that is inconsistent with the plain language of the claims as well as the

  Court’s prior order that 2Wire could argue there was no actual reduction in a difference in

  latency. The portion of the Court’s instruction to the jury that “you must find that 2Wire’s

  accused products infringe claims 17 and/or 18 regardless of how the accused products are

  actually used by 2Wire or its customers” effectively eliminated the requirement in the claims that

  each bonded transceiver actually utilize a transmission parameter to reduce a difference in

  latency between the bonded transceivers. The Court should therefore grant 2Wire a new trial on

  the issue of infringement.




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                 2.      The Court’s Ruling on the Consideration of Counterman
                         During Prosecution Was Prejudicial Error Warranting a New
                         Trial.

         2Wire also was prejudiced by the Court’s rulings on the evidence and argument that the

  parties could present regarding the Patent Office’s consideration of the Counterman reference

  during prosecution. The Court’s rulings—which forbade 2Wire’s expert Dr. Jacobsen from

  explaining how the Examiner considered Counterman in view of different claims during

  prosecution (Trial Tr., at p. 282:8–12), but allowed TQ Delta to say Counterman “absolutely was

  considered” in relation to the asserted claims during prosecution (id., at pp. 795:3–5, 800:17–

  20)—prejudiced 2Wire and warrant a new trial.

         2Wire sought to present evidence that, even though Counterman appeared on the face of

  the ’881 patent, Counterman was considered in view of different claims than those that

  eventually issued—and, in particular, not in view of asserted claims 17 and 18. In particular,

  consistent with her expert report, Dr. Jacobsen was prepared to testify regarding the file history

  as follows: (1) on October 4, 2002, the applicant filed the ’881 patent application, which did not

  include either claim 17 or 18 as issued; (2) on April 4, 2003, the applicant submitted an

  information disclosure statement (IDS) listing three patents, including Counterman; (3) on

  October 8, 2006, April 27, 2007, and January 8, 2008, the patent examiner issued a number of

  rejections under 35 U.S.C. §§ 103 and 112 over the pending claims, which still did not include

  asserted claims 17 and 18; and (4) it was not until after the last rejection that the applicant

  amended then-pending claims 29 and 30 to recite “a plurality of bonded transceivers” that the

  examiner allowed the claims to issue as asserted claims 17 and 18. See Opening Expert Report

  of Dr. Krista S. Jacobsen ¶¶ 107–115. In short, based on the file history, asserted claims 17 and

  18 were never considered by the examiner in view of Counterman.

         The Court sustained TQ Delta’s objections to Dr. Jacobsen’s demonstratives and


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  testimony on this subject. Trial Tr., at p. 282:8–12. Then, during TQ Delta’s closing argument,

  its counsel falsely stated that Counterman “absolutely was considered” by the examiner during

  prosecution of the ’881 patent, and “the patent examiner of course concluded that [the inventors

  had invented something] by granting these claims.” Id., at p. 795:3–5, 11–12. 2Wire objected

  and asked for a curative instruction because, as set forth above, there was no evidence that the

  examiner considered Counterman in connection with the claims that became asserted claims 17

  and 18 of the ’881 patent. As 2Wire’s counsel explained to the Court at sidebar:

         And that’s what the evidence was going to be is that Counterman was provided in
         an IDS, Information Disclosure Statement, and then all of the claims were
         abandoned and this new claim set was provided that included what claim 17 and
         18, and there’s nothing in the file that Counterman was considered after that. So
         that was what the evidence was going to be.

  Trial Tr., at p. 803:5–11. The Court declined to provide a curative instruction. Id., at p. 805:7–8.

         The Court’s rulings prejudiced 2Wire twice: first, by preventing 2Wire from presenting

  evidence that the Patent Office failed to consider Counterman in connection with the asserted

  claims, and second, by allowing TQ Delta’s counsel to falsely tell the jury during closing

  arguments that Counterman was “absolutely” considered by the examiner in connection with the

  asserted claims. The prejudice here is clear: without the evidence that 2Wire was prevented

  from presenting, TQ Delta’s counsel was allowed to falsely tell the jury that it should not

  second-guess the patent examiner who already considered and allowed claims 17 and 18 over

  Counterman. Excluding Dr. Jacobsen’s expert testimony on the file history deprived 2Wire of

  the ability to rebut the falsity offered by TQ Delta. The Court should therefore grant 2Wire a

  new trial on the issue of invalidity.

                 3.      The Court Should Grant a New Trial on Infringement and
                         Invalidity Because the Jury’s Verdict Is Against the Clear
                         Weight of the Evidence.

         2Wire respectfully requests a new trial on the issues of infringement and invalidity


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  because, even if the infringement and invalidity issues above do not justify JMOL, the jury’s

  verdict is against the clear weight of the evidence, and a new trial must be granted to prevent a

  miscarriage of justice. See AVM Techs., 334 F. Supp. 3d at 626. In determining whether to grant

  a new trial, the Court “should consider the overall setting of the trial, the character of the

  evidence, and the complexity or simplicity of the legal principles which the jury had to apply to

  the facts.” LG Elecs. U.S.A., Inc. v. Whirlpool Corp., 798 F. Supp. 2d 541, 558 (D. Del. 2011).

         On the issue of infringement, a new trial is warranted because TQ Delta and its experts

  failed to present any evidence relating to whether the accused 2Wire products satisfy the

  limitation of “utilizing a transmission parameter to reduce a difference in latency between the

  bonded transceivers.” Dr. Cooklev testified about a purported reduction in differential latency

  between his Example A and Example B, but neither of those examples had anything to do with

  the accused 2Wire products. In fact, Dr. Cooklev testified that his Example B was completely

  “hypothetical” and would never “exist in practice.” Such speculation from Dr. Cooklev could

  not support the jury’s infringement verdict. Similarly, Dr. Almeroth provided no evidence that

  the accused products reduce a difference in latency. At most, Dr. Almeroth testified that



             . However, he provided no evidence that

  would ever reduce any actual difference in latency between bonded lines. To the contrary, he

  admitted on cross-examination that the differential latency between lines could remain exactly

  the same before and after                        . Trial Tr., at p. 480:1–12. Given this record, the

  jury’s finding of infringement was against the clear weight of the evidence.

         On the issue of invalidity, the Court should grant a new trial because the jury’s finding

  that Counterman does not anticipate claims 17 and 18 of the ’881 patent was against the clear

  weight of the evidence. As discussed above, the only disputed claim limitation with respect to

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  Counterman was “utilizing a transmission parameter to reduce a difference in latency between

  the bonded transceivers” from claim 17; Dr. Cooklev agreed that all other limitations from the

  asserted claims were disclosed by Counterman. Even as to the “utilizing” limitation, however,

  Dr. Cooklev ultimately agreed with Dr. Jacobsen’s interpretation of Counterman and, thus,

  conceded that Counterman anticipates the asserted claims. In particular, Dr. Cooklev admitted

  that Counterman disclosed the use of FEC parameters to meet a common quality of service

  objective, such as low delay, resulting in a reduction in differential latency among the grouped

  lines in Counterman, as required for claim 17. Therefore, on this record, the jury should have

  concluded that the asserted claims are invalid, and a new trial is required “to prevent a

  miscarriage of justice.”

  V.     CONCLUSION

         For the foregoing reasons, 2Wire respectfully requests that the Court enter judgment as a

  matter of law in 2Wire’s favor as to non-infringement and invalidity of the asserted claims. In

  the alternative, the Court should grant 2Wire a new trial on the same issues.




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                                          Respectfully submitted,


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